
PER CURIAM.
Affirmed. See City of Hollywood v. Hogan, 986 So.2d 634, 641-42 (Fla. 4th DCA *1032008) (adopting federal ADEA analysis for age discrimination claim under Florida Civil Rights Act of 1992; stating “[a]ge discrimination statutes protect only employment decisions which disadvantage an older worker in favor of a younger worker”) (citing Gen. Dynamics Land Sys., Inc. v. Cline, 540 U.S. 581, 124 S.Ct. 1236, 157 L.Ed.2d 1094 (2004)); see also Miami-Dade Cnty. v. Eghbal, 54 So.3d 525, 526 (Fla. 3d DCA 2011) (adopting federal analysis for state age discrimination claim, including the requirement that, to state a prima facie case, plaintiff must prove “the position was filled by a worker who was substantially younger than the plaintiff’), review denied, Miami-Dade County v. Eghbal, 71 So.3d 117 (Fla.2011).
DAMOORGIAN, C.J., STEVENSON and GERBER, JJ., concur.
